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 4
     Attorney for Defendant, PAUL WHITMORE
 5
 6                            UNITED STATES DISTRICT COURT
 7                           EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,   )                 CASE NO: CRF-02-5301 OWW
                                 )
10            Plaintiff,         )
                                 )                 STIPULATION AND ORDER
11        v.                     )                 TO CONTINUE HEARING ON
                                 )                 DEFENDANT’S MOTION TO
12   PAUL WHITMORE,              )                 VACATE FEDERAL CONVICTION
                                 )
13            Defendant.         )
     ____________________________)
14
             The parties hereto, by and through their respective attorneys, stipulate and
15
     agree that the hearing scheduled for July 23, 2007 be continued until August 6,
16
     2007 at 9:00 a.m. in the above-entitled court.
17
             The parties agree to the following briefing schedule: Defendant Paul
18
     Whitmore shall have until July 25, 2007 to file any pleading opposing the
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     government’s response to Mr. Whitmore’s motion to withdraw his jury trial waiver.
20
     The government shall have until August 2, 2007 to submit any pleading opposing
21
     or responding to Mr. Whitmore’s submission.
22
             It is agreed that the hearing on Mr. Whitmore’s motion, as well as sentencing
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     in this matter, should the same become necessary, be continued to August 6,
24
     2007.
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             This stipulation is necessitated by multiple obligations, including some
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     unexpected, encountered by counsel for Mr. Whitmore. Among other obligations,
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     defense counsel was obligated to put aside work on this case and prepare for trial
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 1   in the case of United States v. Jaime Rico, Case No. 06-00090 after the case was
 2   unexpectedly confirmed for trial when Mr. Rico rejected the government’s
 3   settlement offer. The additional time will allow me to effectively represent him at
 4   the hearing, and should it become necessary, at his sentencing.
 5         The parties also agree that any delay resulting from this continuance shall
 6   be excluded in the interest of justice pursuant to 18 U.S.C. §§3161(h)(1)(F),
 7   3161(h)(8)(A) and 3161(h)(8)(B)(I).
 8
     DATED: June 27, 2007                /s/ David Gappa                  __
 9                                       DAVID GAPPA
                                         Assistant United States Attorney
10                                       This was agreed to by Mr. Gappa
                                         via telephone, on June 27, 2007
11
12
     DATED: June 27, 2007                /s/ Roger K. Litman
13                                       ROGER K. LITMAN
                                         Attorney for Defendant
14                                       PAUL WHITMORE
15
16
                                          ORDER
17
           The court having considered the stipulation of the parties and GOOD CAUSE
18
     APPEARING, the court now orders that the sentencing hearing currently scheduled
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     for July 23, 2007, be continued to August 6, 2007 at 9:00 a.m.
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21   IT IS SO ORDERED.
22   Dated: June 27, 2007                     /s/ Oliver W. Wanger
     emm0d6                              UNITED STATES DISTRICT JUDGE
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